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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                GREENVILLE DIVISION

LEROY LYNCH                                                                               PETITIONER

V.                                                                       NO. 4:22-cv-00181-DMB-RP

STATE OF MISSISSIPPI                                                                RESPONDENT(S)

        ORDER REQUIRING PETITIONER TO SUBMIT AN AMENDED PETITION
     ON THE PROPER FORM; ALSO REQUIRING PETITIONER TO EITHER PAY THE
        FILING FEE OR SUBMIT A MOTION TO PROCEED IN FORMA PAUPERIS

        Leroy Lynch has submitted a document that the court construes as a petition for a writ of

habeas corpus under 28 U.S.C. § 2254. The petitioner has not, however, used the court’s standard

form for such petitions. The court uses these forms for the expeditious administration of habeas

corpus petitions.

        In addition, the petitioner is required to either pay the filing fee of $5.00 or submit a proper

request to proceed in forma pauperis. Petitioner will be provided the opportunity to submit either

the $5.00 payment of the filing fee or the proper request to proceed in forma pauperis.

        Therefore, it is ORDERED:

        (1) The petitioner must complete and return the enclosed habeas corpus form within 21 days.
        (2) That within 21 days petitioner is directed to either pay the filing fee with a money order
            or a check issued from his prison inmate account or fill out the attached application to
            proceed in forma pauperis, complete the authorization for release, and have the
            authorized officer responsible for overseeing his prison account fill out the certificate of
            account, and mail to the Clerk's Office.
        Petitioner is directed to acknowledge receipt of this order by signing the enclosed

acknowledgment form and returning it to the court within 14 days of this date. Petitioner is also

warned that his failure to comply with the requirements of this order may lead to the dismissal of his

petition for failure to prosecute and for failure to comply with an order of the court.

        This, the 2nd day of December, 2022.



                                               /s/ Roy Percy
                                               UNITED STATES MAGISTRATE JUDGE
